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                                                                  The initial pretrial conference is rescheduled
November 3, 2021                                                  for January 11, 2022 at 3:45 p.m. The Clerk
                                                                  of Court is directed to close ECF No. 19.
By ECF
                                                                         SO ORDERED.
The Honorable Jesse M. Furman
United States District Court for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007                                                       November 3, 2021
               Re:     Antonio Ventura v. Gjushi Construction Co., LLC et al
                       No. 1:21-cv-06662-JMF (S.D.N.Y.)

Dear Judge Furman:

        We represent defendants in the above-captioned case and write with the consent of
plaintiff to seek an adjournment of the Initial Pretrial Conference, currently scheduled for
November 16, 2021 at 3:30 p.m. (Dkt. No. 9.)

        This is a putative collective action alleging violation of state and federal overtime law.
On Thursday, October 28, 2021, the parties participated in a pre-settlement teleconference with
Judge Wang. On that call, Judge Wang scheduled a settlement conference on December 6, 2021.
Your Honor’s Order Regarding Early Mediation and the Initial Pretrial Conference provides that
parties may request an adjournment of the Initial Pretrial Conference if the “assigned Magistrate
Judge is unavailable to hold a settlement conference before the initial pretrial conference.” (Id.)
Given that Judge Wang has calendared a settlement conference for December 6, 2021, the parties
respectfully request that the Court adjourn the Initial Pretrial Conference until a date subsequent
to December 6, 2021. Defendant’s counsel has a scheduled vacation from December 9, 2021
until December 16, 2021 and respectfully requests that the Initial Pretrial Conference not be
scheduled during that period.

         There have been no prior requests to adjourn the Initial Pretrial Conference. Other than
the Initial Pretrial Conference, there are no scheduled dates for the parties to appear before Your
Honor. We thank the Court for considering this request.

                                              Very truly yours,


                                              YANKWITT LLP


                                      By:     ____________________________
                                              Michael H. Reed

cc: Counsel of record (via ECF)
